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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10    UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                                  Case No. CR-04-5242FDB
12            v.
                                                                  ORDER DENYING RESENTENCING
13    CAMELIA MEZO,
14                   Defendant.
15

16          This case comes before the court for consideration of resentencing pursuant to the remand of

17   the Ninth Circuit Court of Appeals and United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005). In

18   accord with Ameline, the parties have filed pleadings in which they address the question of whether

19   the sentence imposed would have been materially different had the district court known that the

20   sentencing guidelines were only advisory. The court is mindful that the burden of proof is on the

21   defendant to prove the positive of the stated proposition, and the court assumes that the burden is by

22   a preponderance of the evidence.

23          The court has considered all memoranda filed in support of and in opposition to resentencing,

24   the transcript of sentencing hearing, presentence report, judgment, and the balance of the file,

25   including sentences of co-defendants. The court denies resentencing because it finds, for the reasons

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 1   set forth below, that the defendant’s sentence would not have been materially different had the court

 2   known that the Sentencing Guidelines were only advisory.

 3                                           Factual Background

 4          Law enforcement officers learned from a confidential source that Defendant Gregg Schaffer

 5   was planning to retrieve and deliver a large amount of marijuana that had been smuggled into the

 6   United States from Canada. On April 25, 2004, Schaffer traveled by ferry from Victoria, Canada to

 7   Port Angeles, Washington. There, Schaffer was placed under surveillance and on April 26, 2004,

 8   was seen heading west along the Strait of Juan de Fuca in a rented Chevrolet Suburban. On April

 9   27, 2004, Schaffer drove east towards Port Angeles and stopped at a Union 76 gas station in

10   Sequim, Washington. While he was inside the gas station, agents looked through the windows of his

11   car and saw several large duffel bags. When Schaffer returned, the agents identified themselves and

12   asked for permission to search his car. Schaffer consented and the agents found 84.3 kilograms of

13   marijuana inside the duffel bags.

14          Schaffer cooperated with the agents and told him that he planned to deliver half of the

15   marijuana to a man and the other half to a woman. Schaffer agreed to make controlled deliveries of

16   the marijuana. Schaffer called Defendant Evan Tozer, to set up a meeting in a parking lot in

17   Poulsbo, Washington. When Tozer arrived, he took two duffel bags out of Schaffer’s car and placed

18   them in his trunk. He was arrested and admitted that he was going to knowingly transport marijuana

19   and that he was supposed to deliver the marijuana to a person in San Francisco.

20          Schaffer then called the woman, Defendant Mezo, and set up another meeting at the parking

21   lot. Mezo arrived and took two duffel bags from Schaffer’s car and put them in her car. When she

22   was arrested, Mezo admitted that she was going to deliver the marijuana to a contact in Seattle,

23   Washington.

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 1                                         Procedural Background

 2          On May 26, 2004, Defendant Mezo plead guilty to one count of possession of marijuana with

 3   intent to distribute in violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)( C), and 18 U.S.C. § 2.

 4          A presentence report was prepared prior to sentencing. The report calculated defendant’s

 5   base offense level based on the quantity of drugs admitted by her as part of her plea. The base

 6   offense level of 20 was reduced by two levels pursuant to USSG § 2D1.1(b)(7) because defendant

 7   satisfied the “safety valve” criteria set forth in USSG § 5C1.2. Another two level downward

 8   adjustment was made for defendant’s minor participation in the criminal activity. After a three-level

 9   downward adjustment was made for acceptance of responsibility pursuant to USSG § 3E1.1, the

10   total offense level was 13, resulting in a Sentencing Guidelines range of 12 to 18 months. Defendant

11   had no prior criminal history.

12          The court sentenced Defendant on October 29, 2004. It was undisputed that defendant’s

13   Sentencing Guidelines range, before any downward departures, was twelve to eighteen months of

14   imprisonment. Defendant sought additional downward departures based on aberrant behavior and

15   sentencing disparity. Defendant argued that she should receive the identical sentence that Defendant

16   Schaffer received. Mr. Schaffer, whose cooperation led to the arrests of Defendants Mezo and

17   Tozer, received fifteen days with the benefit of a 5K1 motion.1 The court rejected both departures

18   and, in accordance with the recommendations of the government and Probation Officer, sentenced

19   defendant to one year and a day, at the low end of the Sentencing Guidelines range.

20          Defendant appealed her sentence to the Ninth Circuit. On December 12, 2005, the Ninth

21   Circuit issued an order remanding the case to this court pursuant to United States v. Booker, 125

22   S.Ct. 738 (2005), and United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005).

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            Defendant Tozer has not been sentenced because he failed to appear for his sentencing. A
25   bench warrant was issued, but Tozer has not yet been caught.
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 1                                                 Discussion

 2          Defendant argues that she should be allowed to present information focusing on Section

 3   3553(a) factors and that if she is allowed to do so, a materially different sentence with result. In

 4   support, Defendant claims that most information about her was left out of the sentencing procedure

 5   because she “knew that it would do her little or no good.” In addition, Defendant claims that she

 6   withheld information because the “Sentencing Guidelines were mandatory; she might not qualify for

 7   a departure under the Guidelines.” Defendant speaks in very broad and general terms of the

 8   evidence she would have presented at the sentencing hearing, including information about her

 9   childhood in communist Romania and how that shaped her view of government, her background as a

10   Canadian citizen and the different laws pertaining to marijuana, family ties and fear of incarceration

11   of an only child and daughter. Defendant then admits that this information was presented and

12   considered by the court in sentencing, but maintains that the court did not give the information the

13   proper Section 3553(a) attention that Booker now mandates.

14          Defendant argues that this information takes on new weight in a sentencing context where the

15   court must consider all § 3553 statutory concerns. The court disagrees that such a consideration

16   necessarily requires a lesser sentence. As recently noted by District Judge Robert J. Bryan, a

17   “materially different” sentence requires “some logical connection with consequential facts” and “of

18   such nature that knowledge of the item would affect a person’s decision making . . . ”. United States

19   v. Reynoso, et al., Case No. CR02-5823RJB (October 21, 2005). The court is mindful also that one

20   of the goals of Ameline, is to avoid “leaving in place an error-infected sentence due to lack of an

21   adequate record.” Ameline, 409 F.3d at 1083. An inadequate record does not exist in this case.

22   The court considered the information and defendant’s characteristics at sentencing and searched for

23   an explanation from defendant that would allow the further downward departures that she sought.

24          Defendant did not meet the requirements of a downward departure because the sentencing

25   disparity of which she argued ignored the fact that Defendant Schaffer’s cooperation led to the

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 1   arrests and conviction of herself and Defendant Tozer. (Without the 5K1 departure, Schaffer’s

 2   sentence would have been 30 months compared to Ms. Mezo’s twelve months and a day.)

 3   Defendant’s cooperation, on the other hand, produced no results. After questioning her in detail

 4   about the crime and her participation in it, defendant was also unable to provide the court with any

 5   reasonable explanation for her conduct that would justify a lesser sentence.

 6          Taking all of §3553 factors into account leads the court to conclude that any new sentence

 7   would not be materially different from the one earlier imposed. Defendant admitted that she was

 8   ready and willing to transport about 50 kilograms of marijuana. She stated that she did this in order

 9   to make some easy money and because it was intriguing to her.

10                                                Conclusion

11          The court would not have imposed a materially different sentence had it understood at the

12   time of defendant’s sentencing that the Sentencing Guidelines were advisory only. Although only

13   advisory, the Guidelines remain a factor for this court to consider and the court remains convinced

14   that defendant’s sentencing range was correctly calculated. The disparity between co-defendants’

15   sentences was argued at sentencing and was taken into consideration by the court in determining that

16   defendant should be sentenced at the lower end of the sentencing range. Defendant’s family

17   background, lack of criminal history, gainful employment, and possible substance abuse problems

18   were presented to and considered by the court. In keeping with § 3553(a) factors, the nature and

19   circumstances of the offense, along with the history and characteristics of the defendant do not

20   warrant a dissimilar sentence. The court feels that the original sentence properly reflected the

21   seriousness of defendant’s conduct, provided just punishment for the offense and promotion of

22   respect for the law. Although the court searched for a reasonable explanation of why defendant felt

23   her behavior should be considered aberrant or why her conduct warranted a lesser sentence, the

24   court was not persuaded that defendant was entirely candid in her responses.

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 1        ACCORDINGLY,

 2        IT IS ORDERED:

 3        (1)    The court declines to resentence the Defendant; and

 4        (2)    The Clerk of the Court is instructed to send uncertified copies of this Order to all

 5               counsel of record.

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 7        DATED this 3rd day of March, 2006.

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                                                FRANKLIN D. BURGESS
13                                              UNITED STATES DISTRICT JUDGE

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